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               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

  David Gordon Oppenheimer,                        )
                                                   )
                               Plaintiff           )
                                                   )
  Event Ticket Sales, LLC and John Does 1-10       ) Case No: 1:22-cv-02864
  doing business as “SecureBoxOffice.com” and      )
  “Box-OfficeTickets.com”,                         )
                                                   )
                               Defendants.
                                                   )
                                                   )

                            COMPLAINT AND JURY DEMAND

       Plaintiff, David Gordon Oppenheimer (“Oppenheimer” or “Plaintiff”), by and through his

attorneys, ZLATKIN WONG LLP, for his complaint against Defendants Event Ticket Sales, LLC

(“ETS”) and John Does 1-10, representing any and all other unidentified individuals and other

entities involved in the ownership and/or management of the websites SecureBoxOffice.com and

Box-OfficeTickets.com (“Doe Defendants” and, together with ETS, “Defendants”), alleges:

                                NATURE OF THE ACTION

       1.     This action arises under the United States Copyright Act, 17 U.S.C. § 501 et seq.

for copyright infringement of a work previously registered with the United States Copyright

Office, and under the Digital Millennium Copyright Act (“DMCA”) for knowing removal or

alteration of copyright management information (“CMI”) and knowing distribution with CMI

removed in violation of 17 U.S.C. § 1202 et seq.

                                           THE PARTIES

       2.     Oppenheimer is an individual who is actively engaged in the business of creating

and licensing photography and who resides in Asheville, North Carolina.
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        3.      ETS is a Nebraska limited liability company that lists its principal place of business

as being located in Omaha, Nebraska. Upon information and belief, ETS owns and operates the

interactive websites (including all subpages) located at https://www.box-officetickets.com and

https://www.secureboxoffice.com (such URLs, inclusive of all subpages, collectively,

“Websites”).

        4.      Because the owner(s) and operator(s) of the Websites take significant steps to forgo

disclosing their identities, the Doe Defendants represent any and all other individuals and other

entities who own either of the Websites or are actively involved in the management of either of

the Websites.

                                       JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction over this claim pursuant to 28 U.S.C.

§§ 1331 and 1338(a).

        6.      Plaintiff is informed, believes, and thereon alleges that Defendants have sufficient

contacts with Illinois, and in particular this judicial district, based on the events herein alleged,

such that Defendants are subject to the exercise of jurisdiction of this Court. Specifically,

Defendants have used the Websites to target consumers in Illinois and, specifically, in this judicial

district, by providing an opportunity for consumers to purchase tickets to hundreds of events

occurring in this judicial district. To facilitate such activities, Defendants used Plaintiff’s work to

advertise multiple events occurring in Illinois, including an event occurring in this judicial district.

Upon information and belief, Defendants generated advertising revenue and ticket sales from

persons in this judicial district. In addition, as of the date of this Complaint (and at all times relevant

to this case), the terms of service accessible at the URL https://www.secureboxoffice.com/Terms

seek to impose application of Illinois laws as the governing law and Chicago, Illinois as the




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exclusive venue for binding arbitration for any disputes that users of the Websites may have against

Defendants.

        7.       Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391 and 1400(a).

                                       FACTUAL ALLEGATIONS

        8.       Oppenheimer is a noted and respected professional photographer with many years

of experience and considerable reputation.

        9.       Oppenheimer’s photographs have appeared in inter alia Rolling Stone, MSNBC,

MTV, AOL, and FUSE. The subjects of Plaintiff’s photography include President Bill Clinton,

Bob Dylan, Bruce Springsteen, Carlos Santana, and Paul McCartney, among countless other

instantly recognizable persons and places, including Chicago, Illinois.

        10.      Oppenheimer has over the years performed photography services through his own

name as well as in the form and style of “Performance Impressions, LLC,” which is a North

Carolina limited liability company in good standing.

        11.      Oppenheimer earns his livelihood from the creation and licensing of his images to

permitted third-party licensees for compensation, as well as from selling prints of his photographs.

        12.      Upon information and belief, the Websites have at various times been used to

operate internet ticket resale marketplaces where tickets are offered for sale for events located in

hundreds of locations throughout the United States of America, including in Illinois and in this

judicial district.

                Oppenheimer Creates, Registers, and Publishes the Photograph

        13.      In August 2012, Oppenheimer created a photograph of a performance by the Steve

Miller Band as a credentialed photographer at The Biltmore Concert Series in Asheville, North

Carolina (“Photograph”).




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       14.     The Photograph is an original work that Oppenheimer registered with the United

States Copyright Office as part of a collection of photographs. The Photograph – referenced by its

contents title “Steve_Miller_Band_OPP0537.jpg” – is registered with the United States Copyright

Office as part of the collection Festival Travel and Event Photography by David Gordon

Oppenheimer under Copyright Registration Number VAu 1-135-500, bearing an October 1, 2012,

effective date of registration. A copy of the copyright registration certificate for the Photograph is

attached hereto as Exhibit A. The deposit copy of the Photograph submitted along with the

copyright application is attached hereto as Exhibit B.

       15.     After submitting the Photograph for registration, Plaintiff published the Photograph

through the Performance Impressions, LLC website, where Oppenheimer makes his works

available for print sales and licensing, and through the website Flickr.com. As is his pattern and

practice, the published version of the Photograph contained copyright management information as

defined under 17 U.S.C. § 1202(c), including a visible watermark complying with notice of

copyright provisions (17 U.S.C. § 401(d)) on the face of the Photograph and notice of copyright

embedded in the metadata of the Photograph. CMI in the metadata of the Photograph included

proper notices of copyright, and notices declaring “All Rights Reserved” in addition to instructions

for licensing, Oppenheimer’s address, phone number, email, and the Performance Impressions

website URL. On Flickr, in addition to all of the CMI set forth above, the Photograph was

published alongside the notice “© All Rights Reserved” and clicking the “Show EXIF” button

made all of Oppenheimer’s metadata visible, containing all of the above-stated CMI. Oppenheimer

does all this to distinguish his works from others, as well as to ensure that people who view the

Photograph appreciate that Oppenheimer owns all rights and title to the Photograph and follow




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proper protocols in licensing the Photograph. Plaintiff’s published version of the Photograph is

attached as Exhibit C hereto bearing this subsequently added CMI on the face of the Photograph.

         16.    Plaintiff has complied in all respects with Title 17 of the United States Code

(Copyright Act of 1976) and all other United States laws governing copyrights and has secured

the exclusive rights and privileges in and to the copyright of the Photograph.

         17.    Since the date of creation, Plaintiff has held all the exclusive rights to the

Photograph, including, without limitation, the rights to reproduce the work, to prepare derivative

works, to distribute copies to the public, and to display the work publicly pursuant to 17 U.S.C.

§ 106.

         18.    Plaintiff’s copyright referenced above is presently valid and subsisting, was valid

and subsisting from the moment of creation, and has been valid and subsisting in all conditions

precedent to the filing of this suit.

                      Defendants Use the Photograph Without Authorization

         19.    Upon information and belief, one or more of the Defendants obtained the published

version of the Photograph and reproduced, distributed, and/or displayed modified copies of the

Photograph through the following URLs (collectively, “Infringing URLs”):

                      https://www.box-officetickets.com/P/p-816 (“BOT URL”)
                      https://www.secureboxoffice.com/P/p-816 (“SBO URL”)
                      https://images.box-officetickets.com/artists/816.jpg (“First BOT Image
                       URL”)
                      https://images.box-officetickets.com/artists-min/816.jpg (“Second BOT
                       Image URL”)
                      https://images.secureboxoffice.com/artists-min/816.jpg (“SBO Image URL”)

         20.    The BOT URL used the Photograph as a banner image to advertise the sale of

tickets of Steve Miller Band performances throughout the country. The version of the Photograph

reproduced, distributed, and/or displayed at the BOT URL did not contain Oppenheimer’s



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copyright notice watermark on the face of the Photograph and all embedded CMI was removed

from its metadata. A true and correct copy of the infringing copy of the Photograph displayed at

the BOT URL, as captured on February 26, 2020, is attached hereto as Exhibit D.

       21.      The SBO URL displayed the Photograph as a banner image to advertise the sale of

tickets to Steve Miller Band performances throughout the country. The version of the Photograph

displayed at the SBO URL had Oppenheimer’s copyright notice watermark on the face of the

Photograph removed and embedded CMI in the metadata removed. True and correct copies of the

infringing displays of the Photograph at the SBO URL, as captured on June 8, 2019, and August

23, 2021, are attached hereto as Exhibit E.

       22.      A cropped copy of the Photograph without Oppenheimer’s copyright notice

watermark on the face of the Photograph and with all embedded CMI removed from its metadata

was displayed at the First BOT Image URL, the Second BOT Image URL, and the SBO Image

URL (collectively, “Image URLs”). Each visit to either the First BOT Image URL and the Second

BOT Image URL resulted in a copy of the cropped Photograph being created on the visitor’s

computer. True and correct copies of the Photograph displayed at the Image URLs, as captured on

various dates, is attached hereto as Exhibit F. Exhibit F includes copies of the First BOT Image

URL captured on July 17, 2019, and February 26, 2020, Second BOT Image URL captured on

July 30, 2020, and October 7, 2020, and SBO Image URL captured on September 30, 2021, and

May 31, 2022.

       23.      Plaintiff first discovered Defendants’ uses of the Photograph on June 1, 2019.

       24.      At some point between Oppenheimer’s discovery of Defendants’ infringement and

October 7, 2020, the Photograph ceased being displayed at the BOT URL. Around the same time,

attempts to access Box-OfficeTickets.com began to redirect to SecureBoxOffice.com.




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       25.     Neither of the Websites contained any information about the parties owning or

operating the Websites. While the domain ownership record of SecureBoxOffice.com was kept

private, Oppenheimer was able to determine that ETS was the owner of the Box-OfficeTickets.com

domain through a search of records contained on WhoIs.com.

       26.     On August 23, 2021, Oppenheimer, through his attorneys, sent notices of copyright

infringement to ETS and SecureBoxOffice.com. Specifically, Oppenheimer’s attorneys sent

demand letters to ETS’s registered agent in Nebraska, and to the address in Dover, Delaware that

was listed in the terms of service on SecureBoxOffice.com as the address to which notices of

copyright infringement should be sent.

       27.     On September 10, 2021, the registered agent of ETS, who is also an attorney

licensed in Nebraska, California, and Nevada, responded to Oppenheimer’s attorneys, claiming to

represent “the company owning and operating Secureboxoffice.com.” The attorney stated that the

Photograph “does not appear protectable by copyright . . . . The demands outlined in your

correspondence are denied.” A true and correct copy of this correspondence is attached hereto as

Exhibit G.

       28.     On September 16, 2021, Oppenheimer’s attorney responded to the September 10

response from the attorney of the owner-operator of SecureBoxOffice.com, providing ample legal

authority for why the Photograph was protected by copyright, and renewing the demands contained

in the initial notice of infringement, along with a monetary demand to settle the matter.

       29.     The Photograph remained displayed online with its CMI removed at the SBO URL

and at least on the First BOT Image URL at least as recently as September 24, 2021. The

Photograph remains displayed online with its CMI removed at the SBO Image URL as of the date

of this complaint.




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         30.   No response was received to the September 16, 2021, follow-up letter sent by

Oppenheimer’s attorney, nor to a subsequent follow-up email sent by Oppenheimer’s attorney on

April 22, 2022.

                                      FIRST CLAIM FOR RELIEF
                               Copyright Infringement Under 17 U.S.C. § 501
                                         (Against All Defendants)

         31.   Plaintiff repeats and incorporates herein by reference the allegations in Paragraphs

1–30 of this Complaint.

         32.   Plaintiff owns the exclusive rights to the copyrighted Photograph.

         33.   Upon information and belief, one or more of the Defendants published, copied, and

displayed the Photograph at each of the Infringing URLs.

         34.   Defendants’ acts are and were performed without the permission, license, or

consent of Plaintiff.

         35.   Defendants acted with willful disregard of the laws protecting Plaintiff’s copyright.

         36.   Defendants infringed Plaintiff copyright in the Photograph in violation of 17 U.S.C.

§ 501.

         37.   Plaintiff has sustained and will continue to sustain substantial damage in an amount

not yet fully ascertainable.

         38.   Plaintiff is informed, believes, and thereon alleges that the Defendants have

obtained profits recoverable under 17 U.S.C. § 504. Plaintiff will require an accounting from the

Defendants of all monies generated from the Photograph.

         39.   In the alternative and at his election, Plaintiff is entitled to seek maximum statutory

damages for willful infringement by Defendants of Plaintiff’s rights in the Photograph in an

amount of $150,000 under 17 U.S.C. § 504(c)(2). In the event that the trier of fact does not find




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that Defendants willfully infringed Plaintiff’s copyright in the Photograph, Plaintiff is entitled to

seek maximum statutory damages in an amount of $30,000 under 17 U.S.C. § 504(c)(1).

       40.     Plaintiff is entitled to seek recovery of Plaintiff’s attorneys’ fees and costs of suit

from the Defendants, pursuant to 17 U.S.C. § 505.

                                   SECOND CLAIM FOR RELIEF
                                   Vicarious Copyright Infringement
                              (In the Alternative Against All Defendants)

       41.     Plaintiff repeats and incorporates herein by reference the allegations in Paragraphs

1–30 of this Complaint.

       42.     Pleading further but without waiver of the foregoing, Oppenheimer shows that at

the time the owner(s) and operator(s) of the Websites performed the infringing acts, the Doe

Defendants were founder(s), member(s), manager(s), and/or other genre of principal(s) of ETS

and/or another business entity owning and operating the Websites. Oppenheimer further shows

that ETS may have been, directly or indirectly, the owner and manager of one or both of the

Websites.

       43.     Upon information and belief, the Defendants controlled nearly all decisions relating

to the Websites and were the dominant influence of the Websites. ETS and/or the Doe Defendants

provided hands-on decision making with respect to the activities of the Websites, making most of

the decisions relating to the Websites. ETS and/or the Doe Defendants had the right and ability to

supervise and/or control the infringing conduct of the Websites, and/or to stop the infringements

once they began. Upon information and belief, ETS and/or the Doe Defendants had an obvious

and direct financial interest in these infringing activities of the Websites, because the Websites’

uses of the Photograph advertised and promoted the goods and services of the Websites,

encouraging website viewers to purchase and use the goods and services offered by the Websites

and/or the goods and services of affiliates and/or customers of the entities owning and/or operating


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the Websites. Infringement of the Photograph allowed Defendants to promote and sell the

Defendants’ and/or the Defendants’ affiliates’ and/or customers’ goods and services by drawing,

capturing, holding, and prolonging the attention of the average online visitor, providing a direct

positive impact on sales and/or the brand, public image, and reputation of the Websites more

effectively. Accordingly, ETS and/or the Doe Defendants are personally liable to Oppenheimer as

a joint and/or contributory infringer or are otherwise vicariously liable for the actions of the

owner(s) and/or operator(s) of the Websites.

                                    THIRD CLAIM FOR RELIEF
                                 Contributory Copyright Infringement
                              (In the Alternative Against All Defendants)

       44.     Plaintiff repeats and incorporates herein by reference the allegations in Paragraphs

1–30 of this Complaint.

       45.     Alternatively, Defendants have intentionally induced, encouraged, caused, enabled,

facilitated, and/or materially contributed to the infringements complained of herein by directly

and/or indirectly promoting the infringements.

       46.     Upon information and belief, ETS and/or the Doe Defendants at all relevant times

were the dominant influence in the Websites. ETS and/or the Doe Defendants provided hands-on

decision-making with respect to the activities of the entities owning and/or managing the Websites,

set and controlled the policies and protocols of the entities owning and/or managing the Websites,

and established corporate rules and cultures which encouraged the infringing activities. ETS and/or

the Doe Defendants therefore had the right and ability to supervise and/or control the infringing

conduct of the entities owning and/or managing the Websites – and of such entities’ employees,

agents, and/or servants – and/or to stop the infringements once they began, but either directly

refused to exercise such rights or chose to remain willfully blind to the infringing activities while

creating a work environment that encouraged and enabled the same. Additionally, and upon


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information and belief, ETS and/or the Doe Defendants had an obvious and direct financial interest

in the infringing activities of the entities owning and/or managing the Websites.

        47.     Accordingly, ETS and/or the Doe Defendants are personally liable to Oppenheimer

as contributory infringers for the infringing activities of the entities owning and/or managing the

Websites.

                                   FOURTH CLAIM FOR RELIEF
                            Violations of the DMCA Under Section 1202(b)
                                       (Against All Defendants)

        48.     Plaintiff repeats and incorporates herein by reference the allegations in Paragraphs

1–30 of this Complaint.

        49.     Plaintiff’s published version of the Photograph contained CMI within the digital

file of the Photograph, including identifying metadata and, inter alia, the identification of the

author as “David Oppenheimer,” as well as a plainly visible copyright notice stating “© 2012

David Oppenheimer” on the Photograph itself.

        50.     Upon information and belief, Defendants, or third parties at Defendants’ direction

and behest (discovery will reveal which), violated the DMCA by intentionally removing the

Photograph’s CMI, and distributing and displaying the Photograph with the CMI removed, having

reasonable grounds to know that their actions would induce, enable, facilitate, and/or conceal their

infringing activities.

        51.     Such actions further demonstrate Defendant’s willful infringement of the

Photograph.

        52.     The aforesaid actions, including without limitation each copy of the Photograph

reproduced, distributed, and/or displayed at each of the Infringing URLs, constitute violations of

Section 1202(b) of the Copyright Act. More specifically, all instances of removal or alteration of

the Photograph’s CMI by any of the Defendants or at any of the Defendants’ behest resulted in a


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separate violation of Section 1202(b)(1), and each instance of display of the Photograph without

CMI resulted in a separate violation of Section 1202(b)(2).

       53.      Upon information and belief, Defendants knew or had reasonable grounds to know

that by concealing the Plaintiff’s CMI, that Defendants would induce, enable, facilitate, or conceal

Defendants’ infringement of Plaintiff’s Photograph.

       54.      Upon information and belief, Defendants intentionally or knowingly concealed the

Plaintiff’s CMI as aforesaid, in order to conceal that Defendants’ uses of the Photograph was

without the authorization of Plaintiff and in violation of law.

       55.      As a result of Defendants’ actions with regard to the Plaintiff’s CMI, Plaintiff has

been and will continue to be damaged in an amount as yet to be determined.

       56.      As a result of Defendants’ actions with regard to the Plaintiff’s CMI, Plaintiff is

entitled to damages in the form of actual or statutory damages pursuant to 17 U.S.C. §§ 1203(b)(3)

and 1203(c), costs pursuant to 17 U.S.C. § 1203(b)(4), reasonable attorneys’ fees pursuant to 17

U.S.C. § 1203(b)(5), a temporary and permanent injunction pursuant to 17 U.S.C. § 1203(b)(1),

and the impounding, modification, or destruction of any items involved in the violation pursuant

to 17 U.S.C. §§ 1203(b)(2) and 1203(b)(6).

       57.      Plaintiff is entitled to a separate award of damages for each violation of 17

U.S.C.§ 1202.

                                          JURY DEMAND

       Plaintiff requests a trial by jury for all issues triable by jury.

                                      PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays for judgment against Defendants as follows.

             1. Pursuant to 17 U.S.C. § 502, that Defendants and Defendants’ agents, servants,

employees, representatives, successors, and assigns, and all persons, firms, corporations, or other


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entities in active concert or participation with Defendants, be permanently enjoined from directly

or indirectly infringing the Plaintiff’s copyrights in any manner, including generally, without

limitation, reproducing, distributing, displaying, performing, or making derivative works of the

Photograph;

           2. That Defendants be required to perform a complete and full accounting of all profits

generated by Defendants from the Photograph;

           3. Pursuant to 17 U.S.C. § 504, that Defendants be required to pay actual damages

and disgorgement of all profits derived by Defendants from the Defendants’ acts of copyright

infringement; in the alternative, upon Plaintiff’s election, pursuant to 17 U.S.C. § 504, that

Defendants be required to pay statutory damages up to $150,000 for each work infringed for

Defendants’ acts of copyright infringement and, in the event that the factfinder determines that

Defendants’ infringement was not willful, that Defendants be required to pay statutory damages

up to $30,000 for each work infringed by the Defendants;

           4. Pursuant to 17 U.S.C. § 1203(c)(2), that Defendants be required to pay actual

damages and disgorgement of all profits derived by Defendants from any and all of the Defendants’

violations of Plaintiff’s rights under the DMCA; in the alternative, upon Plaintiff’s election,

pursuant to 17 U.S.C. § 1203(c)(3)(B), that Plaintiff be awarded the maximum statutory damages

of $25,000 for each individual violation of the DMCA;

           5. Pursuant to 17 U.S.C. §§ 505 and 1203(b)(4) – (5), Defendants be required to pay

Plaintiff the costs of this action, prejudgment interest, and reasonable attorneys’ fees; and

           6. Such other and further relief as the Court shall find just and proper.




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     Dated: May 31, 2022

                                           Respectfully submitted,

                                           ZLATKIN WONG LLP

                                           By:     /s/ Ilya G. Zlatkin
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                                           Oppenheimer




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